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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                         )
UNITED STATES OF AMERICA,                                )
                                                         )       Criminal No. 1:21-CR-00040-TNM
                 v.                                      )
                                                         )
FEDERICO GUILLERMO KLEIN,                                )
                                                         )
                      Defendant.                         )
                                                         )

                           MOTION TO WITHDRAW AS COUNSEL FOR
                          APPELLANT FEDERICO GUILLERMO KLEIN

         The undersigned hereby respectfully moves this Court to allow the undersigned to

withdraw as counsel of record for Defendant Federico Guillermo Klein in this matter, pursuant to

Local Rule 44.5(d) and District of Columbia Rules of Professional Conduct 1.16(a)(3), (c). 1

         On November 5, 2024, Mr. Klein and the undersigned spoke on via telephone. After

discussing with the undersigned what consequences could occur if Mr. Klein discharged the

undersigned as his counsel, Mr. Klein asked the undersigned to withdraw from representing Mr.

Klein in this matter and in his pending appeal in the Court of Appeals. By rule, the undersigned

must move to withdraw his representation in this matter.                      District of Columbia Rules of

Professional Conduct 1.16(a)(3) (“[A] lawyer. . . where representation has commenced, shall

withdraw from the representation of a client if. . . (3) the lawyer is discharged.”). As Mr. Klein’s

trial is concluded before this Court and Mr. Klein has counsel assisting him in the pending post-

sentencing proceedings that are currently before this Court, there is no risk of delay to trial or

unfair prejudice to any party. See LCrR 44.5(d).



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  The District Court for the District of Columbia has held that that the District of Columbia Rules of Professional
Conduct govern, “practice of law in this District.” Paul v. Judicial Watch, Inc., 571 F. Supp. 2d 17, 20 (D.D.C. 2008)
(citing Rules of the United States District Court for the District of Columbia, LCvR 83.15).
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                                       CONCLUSION

       For the reasons contained herein, the undersigned respectfully requests that this Court

allow the undersigned to withdraw his appearance as counsel for Mr. Klein.



Dated: November 5, 2024                  Respectfully submitted,

                                                /s/ Stanley E. Woodward, Jr.
                                         Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
                                         BRAND WOODWARD LAW, LP
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                                         Washington, DC 20001
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                                         Counsel for Defendant Federico Guillermo Klein




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                                 CERTIFICATE OF SERVICE
         On Tuesday, November 5, 2024, the undersigned hereby certifies that a true and correct

copy of the foregoing motion was electronically filed and served via the CM/ECF system, which

will automatically send electronic notification of such filing to all registered parties. Further,

and pursuant to LCrR 44.5(d), the undersigned hereby certifies that a true and correct copy of the

foregoing motion was sent to Mr. Klein’s last-known address: FCI Fort Dix, Joint Base MDL, NJ

08640.



                                                      /s/ Stanley E. Woodward, Jr.

                                               Stanley E. Woodward, Jr. (D.C. Bar No. 997320)
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